  Case 1:18-cr-00083-TSE Document 30 Filed 03/27/18 Page 1 of 2 PageID# 357



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

                                              )
UNITED STATES OF AMERICA                      )
                                              )
                                                    Criminal No. 1:18-cr-00083-TSE
                                              )
                 v.                           )
                                                    Judge T. S. Ellis, III
                                              )
                                              )
                                                    ORAL ARGUMENT REQUESTED
PAUL J. MANAFORT, JR.,                        )
                                              )
                                              )
                      Defendant.              )
                                              )

                         DEFENDANT’S MOTION TO DISMISS

       Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves to dismiss the

superseding indictment pursuant to Federal Rules of Criminal Procedure 12(b)(2) and 12(b)(3).

The reasons supporting this motion are set forth in the accompanying memorandum of law.

Dated: March 27, 2018                             Respectfully submitted,

                                                  /s/ Kevin M. Downing
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                                                  /s/ Thomas E. Zehnle
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                                                  Counsel for Defendant Paul J. Manafort, Jr.
  Case 1:18-cr-00083-TSE Document 30 Filed 03/27/18 Page 2 of 2 PageID# 358




                               CERTIFICATE OF SERVICE

       I hereby certify that, on March 27, 2018, I caused the foregoing Motion and

accompanying memorandum of law to be served on all counsel of record for the United States

(listed below) by filing the same with the Court’s CM/ECF system.

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       Greg D. Andres
       United States Department of Justice
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